Case 1:22-cr-00310-APM Document 114 Filed 05/23/23 Page 1 of 1

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AO 442 (Rev. 11/11) Arrest Warrant O BIZALY

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UNITED STATES DISTRICT COURT

 

for th
U.S, MARSHAL -DC a¥10:5 ee
RECEIUER WAY 17°29 District of Columbia
United States of America
v. Case: 1:22-cr-310
Assigned To: Judge Amit P. Mehta
TYRONN WATERS
} Assigned Date: 5/16/2023
y Description: SUPERSEDING INICTMENT (B)
) Case Related to 22-cr-310 (APM)
Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) ==TYRONN WATERS _ .
who is accused of an offense or violation based on the following document filed with the court:

& Indictment CF Superseding Indictment O Information © Superseding Information O Complaint
OG Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

21 USC § 846 - Conspiracy to Distribute and Possess With Intent to Distribute 400 Grams or More of a Mixture and
Substance Containing a Detectable Amount of Fentany!t and a Mixture and Substance Containing a Detectable Amount of
Cocaine;

18 USC § 1349 - Conspiracy to Commit Wire Fraud; 18 U.S.C. § 371 - Conspiracy to Commit Aggravated Identity Theft;
18 USC § 1028A(a)(1} - Aggravated identity Theft; 18 USC § 2 - Aiding and Abetting;

FORFEITURE: 18 USC § 982; 21 U.S.C. §§ 653(a) and (p); and 28 USC § 246 1(c)

. Digitally signed by

 

 

 

 

Zia M. Faruquis.
Date: 05/16/2023 qui ia M.Fa ruqui
issuing officer's signature
City and state: WASHINGTON, D.C. ZIA M. FARUQUI, U.S. MAGISTRATE JUDGE
Printed name and title
Return

 

This warrant was received on (date) % / Q dob} __, and the person was arrested on (date) 2
at (city and state) 0c DZ :

4
Date: “as
Arresting officer's signature

Tree M. DUSM

— Printed name and title

 

 

 

 
